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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                        No. 16-10094-LTS
                                    )
ROSS MCLELLAN,                      )
Defendant                           )
                                    )
___________________________________ )


          DEFENDANT ROSS MCLELLAN’S SENTENCING MEMORANDUM

       Mr. McLellan does not, in any respect, seek to depreciate or minimize the gravity of his

offenses of conviction. He does, however, seek via this sentencing memorandum to place his

conduct in the proper context, as well as to provide the Court with a full, three-dimensional

understanding of the human being whose fate now rests in its hands.

I.     Personal Background

       For his entire lifetime, Mr. McLellan has been a good person. Attached to this

memorandum are 78 letters of support from family and friends which together bring into sharp

focus the person now facing sentencing before the Court: a devoted son, a caring and supportive

sibling, a loving husband, a deeply involved father of four young children, and an empathetic and

dependable friend to many. As detailed in these letters, Mr. McLellan has made a habit of

quietly helping those in need (asking for and expecting nothing in return), steadfastly offered the

kind of friendship any person would cherish, and provided an unwavering foundation of support



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and care to his family, his parents, his friends, and many more. Even while facing federal

indictment, Mr. McLellan has remained an irreplaceable pillar of support to his wife Lisa, his

four young children, and many in his community. He is the friend willing to go to extraordinary

lengths where necessary (e.g., by organizing assistance for multiple neighbors battling cancer),

or to simply lend a compassionate ear and provide advice when smaller, day-to-day problems

begin to feel overwhelming. He is the coach who goes out of his way to support children who

are shy or struggling, even those who are otherwise complete strangers to him. He is the

community member willing to take charge of all aspects of a charity event to support a

neighborhood child diagnosed with a rare disease. He is, simply put, independent of his

participation in the events that led to his conviction which are addressed below, an exceptional

human being.

        Mr. McLellan is 46 years old. He was born in Warwick, Rhode Island to John and

Daune McLellan. Mr. McLellan’s family situation during his early years was difficult at times.

His father was an alcoholic, who was often intoxicated in front of his children and frequently

unemployed. See PSR ¶ 54.1 The family also lacked financial resources, and was dependent on

public assistance, as well as help from extended family members, to meet their basic needs. See

id.

       It is from these humble beginnings that Mr. McLellan developed his strong work ethic.

As his sister Patricia describes, “[a]t a very young age Ross had a paper route and that is when he



1
 Mr. McLellan himself has struggled with alcohol, a problem that has been understandably
exacerbated by the stress of the long investigation, prosecution, and trial of this case. See
PSR ¶ 76.
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first became conscientious. Every day he would have to come home from school and deliver the

papers and once a week he would have to collect the money from his customers.” Exhibit 2. As

a teenager, Mr. McLellan also worked in a supermarket meat and produce department. See

Exhibit 3, Letter from Rose Angela McLellan. In addition to helping support his family

financially, Mr. McLellan was a diligent student. See Exhibit 2, Letter from Patricia LePage.

This work ethic, though rooted in childhood, has proved enduring for Mr. McLellan. As his wife

Lisa describes, “Ross is the hardest-working person I know. His parents did not go to college,

nor did they have the financial resources to fund his education. . . . He put himself through

college and graduate school on scholarship and loans.” Exhibit 1. Mr. McLellan’s hard work

paid dividends. He graduated from Stonehill College and earned an MBA from Boston College

by attending night classes. After being hired by State Street, he quickly rose up the ranks

through hard work not privilege to become the youngest Executive Vice President in the history

of the bank.

       More remarkable than Mr. McLellan’s success was the fact that his humble, easygoing

nature remained entirely unchanged. According to Mr. McLellan’s sister, his “humility is almost

comical.” Exhibit 2. As an example, she points to an interview Mr. McLellan gave to a local

newspaper after his son Matthew was the first baby born on the South Shore on January 1, 2007.

When reporters asked Mr. McLellan “what he did for a living his answer was very general and

basic when at the time he was a Vice President. Ross’s friends and colleagues had a good laugh

at his reluctance to share his accomplishments in the corporate world.” Id. Mr. McLellan’s

brother Andrew tells a similar story: “I read recently that Ross was the youngest executive vice



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president in State Street’s history and was a lecturer at M.I.T. I knew Ross was successful but

was un[a]ware of how successful. This is because his career was only a small part of his life,

which he rarely spoke about and never bragged about.” Exhibit 4.

       For Mr. McLellan, his family always came first. See, e.g., Exhibit 4 (explaining that Mr.

McLellan “was much more interested in coaching his children’s sports teams, their education,

and well-being”). Family is everything to Mr. McLellan. He is a loving husband and father of

four young children whom he adores. Mr. McLellan has a thirteen-year-old son Luke, an eleven-

year-old son Matthew, and seven-year-old twins Julia and Thomas. As one friend puts it, “I have

witnessed [Mr. McLellan’s] eyes light up when his son Luke saves a goal or when his son Matt

scores that goal. I have witnessed his pride when his twins get up on stage at their elementary

school to perform a song or recite a poem at [an] all school meeting. I have seen that smile on

his face when his daughter Julia runs into his arms after her dance recitals or gymnastic meets

eager to receive flowers from her Dad. . . . I have also seen the love that his family has for him.”

Exhibit 5, Letter from Jeff Chisholm. And Mr. McLellan’s dedication to family is not limited to

his own children. To the contrary, he has also taken extraordinary steps to support extended

family, including starting “a college fund for all his nieces and nephews.” Exhibit 2, Letter from

Patricia LePage. In the words of Mr. McLellan’s nephew, “Ross is someone who would do

anything for me and would truly do whatever he could to help anyone.” Exhibit 6, Letter from

Alexander LePage.

       In 2016, in addition to being under federal indictment, Mr. McLellan experienced a great

deal of difficulty and loss in his family life. Both of his parents passed away in a matter of



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months, and his in-laws also fought serious illness. Consistent with his longstanding character,

Mr. McLellan did not shrink from these trying circumstances, but instead rose to meet them. As

his sister explains, “[t]oward the end of our parents’ lives they were struggling financially. Our

mother wanted nothing more than to spend her final days in her beloved home of 42 years. Ross

discretely gave my father fifty thousand dollars so he could pay his bills. As the executrix of my

parents’ estate I did not know of this transaction until after their passing.” Exhibit 2. Even more

important than this significant financial support was the crucial day-to-day assistance that Mr.

McLellan constantly provided to his ailing parents. In the words of Mr. McLellan’s brother,

“there were a number of trips to the emergency room or long hospital stays. Many times, my

sister and I were unaware of the smaller events because Ross took care of everything. Living

over an hour and half away, with a taxing career and large family, he would be by their side

making sure they had the necessary medicines, proper care, and that their financials were in

order and bills paid. It is not unusual for a child to take care of elderly parents. The important

facts are that Ross never wanted or took credit. His only concern was doing the right thing for

my parents.” Exhibit 4. Along similar lines, Mr. McLellan’s mother-in-law writes, “in the last

three years my husband was partially paralyzed after spinal surgery due to cancer . . . . Ross has

been wonderful throughout our ordeal, coming to us as often as he can and always offering to

help. Ross is a true blessing to us!” Exhibit 7, Letter from Theresa and Vincent Ziccardi.

       Mr. McLellan’s family leans on him now more than ever. As his wife Lisa explains,

“[s]ince my return to full-time employment in 2016, Ross has assumed many of the primary

daily parenting responsibilities for our large family: he packs lunches, drives the children to



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school and religious education classes, takes them to medical appointments, attends parent-

teacher conferences, and coaches their youth hockey teams. Further, our oldest son [Luke] has

special needs, diagnosed at age 7 by a neurologist at Boston Children’s Hospital with severe

attentional deficits that impact his academic and social development.” Exhibit 1. Both Luke’s

pediatrician and his neurologist wrote letters speaking to the crucial role that Mr. McLellan plays

in his ongoing treatment, and the negative effect that a lengthy prison term would have on the

McLellan children. See Exhibits 8 and 9.

       Mr. McLellan is not only a pillar of his own immediate and extended family, but also of

the larger community. As one friend puts it, “[o]ur community and by proxy our society are so

much the better for Ross’s presence and involvement directly on so many fronts for so many

years.” Exhibit 10, Letter from William Toland. Another refers to Mr. McLellan as “truly a

beacon of our community,” who “does everything for others, never thinking of himself.” Exhibit

11, Letter from Stephen Murray. A third friend (of almost thirty years) concludes, “[e]verything

Ross does is about making sure the people around him have more than he does. This epitomizes

who Ross is as a person. Someone who puts everyone else above himself.” Exhibit 12, Letter

from Brendan Burke.

       This high praise for Mr. McLellan’s character is borne out by countless examples (too

many to summarize here) described in the attached letters of support. Time and time again, Mr.

McLellan has gone to extraordinary lengths to lend a hand to friends, neighbors, co-workers,

and, perhaps most tellingly, complete strangers. The examples copied below illustrate who Mr.

McLellan is as a person far better than any summary ever could:



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  •   “I will start with the hero part. Starting in January 2011, Jenn has endured two
      separate cancer diagnoses that at times looked bleak. Both battles landed her in
      hospitals for days, and sometimes, weeks on end. With three young children,
      there is no way Jenn and I could have successfully focused on beating cancer
      while making our kids feel remotely normal and safe without amazing efforts
      from our friends and family. Despite all of this happening at the same time
      Ross knew he would be dealing with this case, Ross was constantly there for us.
      Lots of people did amazing things – rides for the kids, dinners for the family –
      and the McLellans were no exception. They pitched in on all of it. But Ross
      went even further. Without asking or even telling me, Ross began taking the
      trash out of my garage and taking it to the dump every Friday for months on end.
      He did not do it for the credit but simply because we needed the help. It was
      only looking back on it did I realize how selfless Ross was since, at the same
      time, he and his family were facing their own set of challenges but he did not
      hesitate to sacrifice his own time to help us.” Exhibit 13, Letter from Bob
      Gilman (emphasis added).

  •   “In 2014, my wife Mary was stricken with brain cancer. This, as you can
      imagine, was an enormous shock to our family (my wife and three children).
      During the initial diagnosis and surgery, followed by the surgery to attempt to
      remove the tumor, and the subsequent months of radiation and chemotherapy, we
      were in need of significant assistance and support. Lisa and Ross spearheaded an
      effort to organize our meals, childcare, transportation, and other crucial
      necessities during this time. We got through this trying period because of their
      kindness, hard work and generosity.” Exhibit 14, Letter from Bill Farrington.

  •   “There is someone in our town who has battled cancer. I will refer to her as
      ‘Jane’. . . . As Jane was recovering from surgery and dealing with chemotherapy
      and its side effects, Ross and Lisa were welcoming [her son] to their home and
      activities without reservation. Many times, the boy would be in their house
      before the McLellan’s would wake up and he simply joined them for breakfast as
      Jane was home recuperating. I don’t know this from Ross or Lisa, rather having
      observed this when carpooling with Ross to sports activities. There was the boy,
      welcomed, with Ross & Lisa giving him a sense of comfort when he needed a
      level of support & compassion.” Exhibit 15, Letter from Joseph Guerrero.

  •   “Some years ago my husband was at the hospital with my father-in-law who was,
      at the time, quite ill. Alex had called to tell me that his mother was going to
      come stay the night with us to be closer to the hospital in case of an emergency
      involving his father. Our guest room bed was at the time ‘on loan’ at a
      neighbor’s house, and I could not collect it and set it up for her on my own.
      After speaking with a next-door neighbor, it was Ross who showed up a short


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      time later, having heard through the ‘grapevine’ that I needed help. Ross has
      never met my in-laws. Alex wasn’t even home. Yet there he was.” Exhibit 16,
      Letter from Alex and Sarah Mills (emphasis added).

  •   “First and foremost, you can always count on Ross. They often say it takes a
      village to raise kids these days and if this is the case then we are certainly blessed
      to have Ross McLellan part of our village. I can’t even begin to count the
      number of times he has driven our kids to practices and games. If asked, he
      would probably tell you that we’ve done the same, but in all honesty we haven’t
      even come close to returning all the times he has helped out our family. Ross
      truly is that friend who is always willing to help others. He is that friend that
      shows up at your door to take you to dinner knowing your family is not around to
      help you celebrate your birthday. He is that friend that would drop his plans or
      rearrange his schedule to help you out again and again never expecting anything
      in return.” Exhibit 5, Letter from Jeff Chisholm (emphasis added).

  •   “As it pertains to my middle child, he is shy socially and does not have a lot of
      confidence. Getting him to games and practices was a chore, one that gave me
      great stress, as it was a constant battle. I noticed after a few weeks that he was no
      longer fighting me on going to practice and games. He became much more
      comfortable socially, I noticed him talking to the other kids around Ross as he
      was telling stories or congratulating the kids. Ross could sense that my child
      was shy and nervous, and even though he did not know me or my child at the
      time, he would call out my son’s number and tell him in front of the others that
      he had made a great play. It made all the difference in the world for my son as
      the other kids would repeat it to him, and the praise was something that coming
      from someone who is not his parent, meant the world to him. For Ross to do this
      for my son, who now plays with much more confidence, and is more at ease
      socially, without knowing either of us, told me everything I needed to know
      about him. . . . He had nothing to gain from going out of his way to help my
      son and put him at ease. He did it because that is the type of person he is. . . .
      Shortly thereafter I introduced myself to Ross and thanked him for his
      overwhelming kindness. It didn’t even register with him that he had done
      anything as it just happens naturally for him.” Exhibit 11, Letter from Stephen
      Murray (emphasis added).

  •   “I owe so much of what my life is to Ross. Below I have shared several stories
      involving Ross and me (there are many, many more). None of them on their own
      are a big deal, but it is such small actions that occur frequently over an extended
      period-of-time that show true character . . . . When I needed a place to live or a
      roommate – he found one for me. When I needed encouragement, it was Ross
      who provided it. When I had nowhere to go for a holiday, he would take me with


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      him to his parents. When I had nothing going on or he found out I was alone, he
      would have me over for dinner. When I was upset or needed a friend, it was his
      house I would go. When I needed advice, it was his counsel I sought. . . . Ross
      is an amazing friend. I am so lucky to have had him in my life the past 23 years.
      I love him like a brother, love his family as my own and based on . . . what he
      has done for me and how he has been there for me over the years – I know he
      loves me back.” Exhibit 17, Letter from Craig Svendsen (emphasis added).

  •   “My son is a perfect example of his paternalistic nature. [My son’s] enthusiasm
      for hockey has always outweighed his abilities. Hockey is a game where natural
      talents are necessary to truly excel in this sport, and sadly [my son] wasn’t gifted
      with those skills. He’s always struggled to keep up, and has worked very hard
      over the years to improve his game. Ross has coached [my son] on a number of
      teams, and has been his constant advocate during countless sessions. Hockey
      team placements in Hingham have been given an unhealthy importance, and are
      often driven by non-performance issues. Over the years Ross had always been
      [my son’s] biggest cheerleader, speaking up for him and highlighting his hard
      work. This has helped [my son] make appropriate teams he wouldn’t have
      otherwise. [My son] wasn’t the only player Ross advocated for, though, as there
      were a number of others he went to bat for, ensuring their hard work and efforts
      were recognized and rewarded. . . . We didn’t ask Ross to do that, he took it
      upon himself to speak up for these kids who didn’t have a voice themselves. He
      wasn’t looking for anything in return, just doing what he felt was right.”
      Exhibit 18, Letter from Jim Taylor (emphasis added).

  •   “Our boys instantly loved Ross as he would always talk sports with them which
      they loved. Ross always made himself available when the boys would go over
      and ask him to play catch with them. They would wait for Ross to come home
      from work and would go running over with glove and ball in hand. Ross never
      turned them away and never made them feel he was too busy. For my oldest
      son’s 8th birthday, Ross went out and bought him a Paul Pierce Celtics Jersey.
      My son wore it every day for months and months and at times he would sleep in
      that jersey. It was the best birthday gift an 8-year-old boy received that year.”
      Exhibit 19, Letter from Karen Morris (emphasis added).

  •   “Every winter Ross comes out and plows our elderly neighbor’s driveway and
      our driveway as well. When I tell him I will be out to shovel he tells me he
      enjoys doing the plowing and to stay inside.” Exhibit 19, Letter from Karen
      Morris.

  •   “I remember my senior year leaving my town house on a Thursday evening on
      my way to enjoy one of the last nights. On my way out of the townhouse that


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               evening, Ross was departing the opposite direction with a backpack. I asked,
               ‘where are you going?’ His response, ‘to the Computer Center to put together
               everyone’s resume.’ Ross took the hand-written resumes for all of my
               housemates and put them into a document to help them find jobs. Again, Ross
               always put others above himself. He did this back then and still does to this
               day.” Exhibit 12, Letter from Brendan Burke.

           •   “With our son having special needs, his interests have not fallen in the traditional
               sport activities that many kids play and often are the topic of adult discussions.
               Ross always asks about what our kids are doing and his supportive attitude
               towards our activities (mountain biking, skiing, etc) have always been
               appreciated. I have run into many parents that avoid that discussion with me.
               Ross always sums up that spending time with our kids is always the most
               important thing and he has a very realistic view of the kid’s sports activities that
               we don’t participate in.” Exhibit 20, Letter from Brian Koyce.

           •   “As indicated, I feel I know Ross as a person and his moral fiber as well as
               anyone. But I was caught off guard by something he did a few years back.
               During the holiday season he had a number of gifts for his family stolen from
               his car. Most people would be angry and upset. His response was something to
               the effect that he hoped the lives of those responsible got better so they
               wouldn’t need to do something like that in the future. This is the Ross
               McLellan I know.” Exhibit 4, Letter from Andrew McLellan (emphasis added).

           •   “Early in my trading career at State Street, I made a large trading error that cost
               our firm a significant amount of money. I went home that night worried about a
               meeting I would have early the next morning with my direct manager and Ross.
               It was a humbling and embarrassing mistake and I thought I was going to get
               fired, or at the very least, harshly reprimanded. The next morning none of those
               things happened. Ross sat me down and calmly asked me to explain what
               happened the day before and then told me to forget about it. After that, we
               discussed ways to avoid such an occurrence in the future. With some input from
               some other traders we came up with some new protocols that would eliminate
               such errors in the future. I still fondly remember the way Ross handled the
               situation.” Exhibit 21, Letter from Sean Canavan.

       Ross and his wife Lisa have also been generous with their time when it comes to

volunteer work and charitable causes:

           •   “While at State Street, Ross led volunteer teams in service of the Cradles to
               Crayons organization, donated a percentage of his salary to the United Way, and


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      was a sponsor for the Jimmy Fund. More recently, he and I are on the planning
      committee for an annual summer fundraiser in our town to benefit Children’s
      Hospital. Ross spends countless hours helping to organize this charity Wiffle
      ball tournament – from ordering t-shirts to recruiting teams, to working the
      event itself.” Exhibit 1, Letter from Lisa McLellan (emphasis added).

  •   “He has coached several teams for Hingham Youth Hockey and doesn’t hesitate
      to offer his help with other sports. Coaching with him, to have witnessed first-
      hand the positive influence he has had on the kids in our community. He is able
      to coach in a manner that promotes both growth, sportsmanship, and respect for
      their team. I would actually describe him as the driving force behind Hingham
      Youth Hockey serving as both equipment manager and league representative. He
      has done such an outstanding job managing the equipment that he has rightfully
      earned the nickname ‘USA Equipment Manager of the Year’.” Exhibit 5, Letter
      from Jeff Chisholm (emphasis added).

  •   “Most recently, Ross has been an integral part of a charity fundraiser that our
      teenage son started to raise awareness of his rare disease and to benefit the
      children’s hospital where he is currently a patient. When we sent out requests for
      help with this endeavor, it was no surprise to us that Ross was one of the first to
      respond to say that he would help in whatever way we needed assistance. Many
      people will offer help in a situation like ours but then life gets busy and it is hard
      to help out which is certainly understandable. However over the past two years
      during what we know has been the most difficult time in his life, he has helped
      out in so many ways to support our charity event and support his friends. He is
      always there to help with whatever we need. He often works quietly behind the
      scenes to get things done. For example, last year at the height of frenetic last
      minute event planning he arrived at our door with all the event t-shirts in hand.
      Without being asked, he had driven into the city to pick up the shirts for us and
      deliver them because he knew everyone was overcommitted with other tasks. He
      is a friend who cares deeply about others and is always there to help a friend in
      need.” Exhibit 22, Letter from Tom and Susanne Malloy (emphasis added).

  •   “Recently, I had the opportunity to experience Ross’ generosity in a community
      setting. Ross and his wife Lisa managed the second annual Wiffle Ball
      Tournament to raise money for the Children’s Hospital. Ross’s neighbor’s son is
      currently battling a rare bone disease along with another child in his town and
      they are seeking treatment at Boston Children’s Hospital. . . . Ross lined the
      fields, organized the teams, instructed the volunteers, posted the tournament
      board, hugged and high-fived every child that participated and even managed to
      hit a couple of home runs for our team. The day was an absolute success and
      although Ross and Lisa would not take credit for it, it would not have been a


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                success without their direct involvement.” Exhibit 23, Letter from Brian Doyle
                (emphasis added).

            •   “At Plymouth River School there is constantly a need for volunteers and my wife
                and I do our best to make certain that we contribute. We have been part of the
                PRS community for close to 7 years and there has never been a time when we
                have volunteered that the McLellan’s were not there pitching in as well. The
                McLellan Family exemplifies what it means to give back.” Exhibit 24, Letter
                from Geoffrey Hart (emphasis added).

        Perhaps most impressive, and indicative of Mr. McLellan’s character, is the fact that he

has continued to be unfailingly selfless and empathetic even after being indicted and losing both

of his parents all in the space of a single year:

            •   “[T]hroughout it all, Ross has been a model of resiliency and grace for our
                children, always answering their questions honestly, teaching them to be kind to
                others, and encouraging them to stand up for what they believe in. During his
                trial, Ross was adamant that this was his burden to shoulder alone, and actively
                discouraged his many family members and friends from coming to court to
                support him. . . . And yet even in these bleakest and most uncertain times, Ross
                exhibits a profound sense of gratitude for his family and his blessings. I could
                not be more proud of the example he has set for our children.” Exhibit 1, Letter
                from Lisa McLellan (emphasis added).

            •   “Perhaps nothing has impressed us more about Ross since we have known him
                th[a]n the way he has conducted himself while having this case hanging over
                every aspect of his life for seven years. Ross has never failed to put others, and
                most importantly his family, first. Even at the lowest points in the case, Ross did
                everything possible to be there for his family. This includes attending a baseball
                game for his son the day of the verdict despite knowing that the other parents
                would know what happened and that the world had just dealt him a terrible
                blow. . . . Given what we know of him in all kinds of contexts, it is not surprising
                but also no less inspiring.” Exhibit 13, Letter from Bob Gilman.

            •   “Ross loves hockey and was a goalie in his younger days. He is a coach and
                board member of the local youth hockey program. . . . When invariably there is
                an issue, like I had with my younger son, Ross was there to lend an ear and look
                to ensure my son was treated fairly. In fact, with all of Ross’s professional
                challenges 2 days prior to his arrest, unbeknownst to me, he made time for me to
                understand my son’s situation. He intervened on my son’s behalf as he wanted


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                to ensure my son’s best interests were being served. In hindsight, he had many
                more pressing matters bearing down on him, though he made the time for me
                given his concern for a friend and the values he lives daily.” Exhibit 15, Letter
                from Joseph Guerrero (emphasis added).

            •   “[O]ne of our fondest recollections of Ross was when we were first invited to
                attend the McLellans’ annual 4th of July pool party in 2011. . . . I must share with
                you that although Ross was simultaneously dealing with immense stress and
                sadness, you would never know it this year. All the kids including his own
                looked up to him as they always do . . . . I will never forget the moment my wife
                and I looked out . . . and watched Ross and their 4 kids in the pool as if it was a
                normal July 4th. It took incredible courage for Ross knowing his life as he knows
                it could be forever changed but there he was playing in the pool with his kids and
                making sure all the kids had a great time the entire day. This is Ross. He is
                always the one watching out for everyone – his wife, his children, his parents,
                family, friends and community.” Exhibit 25, Letter from David and Cherie Le
                Penske.

II.    A sentence of one year and one day would be fair, just, and sufficient to meet the
       sentencing goals set forth in 18 U.S.C. § 3553(a)

       As in all sentencing proceedings, this Court is tasked with imposing a punishment that is

“sufficient, but not greater than necessary” to serve the enumerated statutory goals. 18 U.S.C.

§ 3553(a) (emphasis added). Among other things, the Court should consider the nature and

extent of the defendant’s particular role in the offense; what, if any, punishment has already been

inflicted upon him; his individual circumstances; sentences imposed and to be imposed on his

co-conspirators, and, in the discretion of the court, on other defendants in other similar or related

cases outside the district; and the likelihood of recidivist behavior. In the circumstances of the

present case, the defense respectfully submits that a sentence of one year and one day is

“sufficient, but not greater than necessary” to serve § 3553(a)’s sentencing goals.

       a.       Specific and general deterrence

       First, Mr. McLellan is a first-time offender, having never previously been in contact with


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the criminal justice system, much less convicted of a crime. From a sentencing perspective, this

fact is of the utmost importance. As Judge Gertner noted in United States v. Germosen, there is

“a demonstrable difference in the recidivism rates of real first time offenders as compared to

other defendants in Criminal History Category I.” 473 F. Supp. 2d 221, 227 (D. Mass. 2007)

(citation omitted).2   There is no need to subject Mr. McLellan to years of incarceration in order

to specifically deter him.

       The goal of general deterrence similarly does not require a lengthy period of

incarceration. In short, no rational human being aware of what has occurred to Mr. McLellan

would ever knowingly and intentionally choose to endure what he has experienced over the

course of the past seven years. Having spent decades of his life building a successful career and

an unimpeachable reputation in his community, Mr. McLellan has now lost all he has worked

for. The countless hours spent working to put himself through night school and earn a master’s

degree have been wasted, his job at State Street terminated, his initially successful consulting

business now essentially worthless and without clients given the reputational impact of the

current charges and then conviction. Moreover, in the six years since his termination, Mr.

McLellan and his family have been forced to live under the burden first of U.K. regulatory

allegations and then U.S. criminal investigation followed by felony charges.3 Anyone paying


2
 The Sentencing Commission, recognizing this fact, recently promulgated an amendment,
effective November 1, 2018, directing courts to “consider imposing a sentence other than a
sentence of imprisonment” for certain first-time offenders. Amendments to the Sentencing
Guidelines at 29 (Nov. 1, 2018).
3
 The Court plainly has the ability to consider these collateral consequences in fashioning an
appropriate sentence. See United States v. Stewart, 590 F.3d 93, 141 (2d Cir. 2009) (“It is


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even an iota of attention to Mr. McLellan’s case has already been adequately deterred.

Additionally, banks cannot help but understand the serious nature of the conduct at issue in light

of State Street’s widely publicized deferred prosecution agreement with the government. In

order to resolve the charges, State Street was required to pay more than $64 million to U.S.

government agencies. See Department of Justice Release (Jan. 18, 2017).4

       b.      Circumstances of offenses

       While Mr. McLellan, for sentencing purposes, is not contesting the evidence in this

proceeding, a careful examination of the circumstances of his offenses reflects certain factors

that the Court can consider in mitigating his individual culpability. He was neither the initial

architect of the overcharging scheme nor heavily involved in its day-to-day operation. See

Defendant’s Memorandum in Support of Objections to Government’s Version of Offense

Conduct and Sentencing Guidelines Calculations at 2-5. Mr. Pennings, not Mr. McLellan, was

charged with running State Street’s transition management business in Europe. Mr. Pennings

was supervised by Steve Smit, the SSgM head of the U.K. Office, as well as by Mr. McLellan.

After losing a number of bids to competitors that he believed to be charging more money than




difficult to see how a court can properly calibrate a ‘just punishment’ if it does not consider the
collateral effects of a particular sentence.”); United States v. Nesbeth, 188 F. Supp. 3d 179, 180
(E.D.N.Y. 2016) (varying from guidelines to impose non-incarcerative sentence “in part because
of a number of statutory and regulatory collateral consequences [the defendant] will face as a
convicted felon”).
4
  The U.K. regulatory authority assessed a separate penalty of almost $38 million. See Financial
Conduct Authority Release (Jan. 31, 2014). These fines were in addition to State Street’s full
reimbursement of the mark-ups charged to all six affected clients, even KIA which was arguably
not defrauded at all.


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State Street, Mr. Pennings began to move State Street’s business model closer to that of its

competitors.5

       Crucially, none of the co-conspirators were even conscious of the possibility that they

were committing crimes. See June 12 Tr. at 59 (Pennings) (“I never, in my wildest dream,

dreamed that I could be indicted by US court . . . [o]r by any court.”); June 7 Tr. at 144-45

(Boomgaardt) (Q: “You didn’t believe that you were committing a criminal act, did you?” A:

“Again, I didn’t think about in that way, but you know, I’m thinking about it now in that way,

but no, I didn’t at the time.”). State Street not McLellan received the non-disclosed markups.

Mr. McLellan acknowledges that he made errors in judgment. He could have acted differently.

While certain internal disclosures were made, for instance in Pennings’ April 2011 conference

with State Street attorneys and their outside counsel at the London law firm of Herbert Smith and

in Mr. McLellan’s disclosures in November 2010 prior to KIA 121 to persons including Mark

Hansen, the global head of Compliance, see Defendant’s Memorandum in Support of Objections

to Government’s Version of Offense Conduct and Sentencing Guidelines Calculations at 19-21,

Mr. McLellan could have sought clearer and more express approval from his superiors at State

Street, as well as the bank’s legal and compliance personnel. He similarly could have required

Pennings, Boomgaardt, and the EMEA transition management team to be more explicit with



5
  An additional fact relevant to sentencing is that Mr. Pennings repeatedly told Mr. McLellan that
State Street’s competitors in the transition management field, particularly investment banks,
were profiting from undisclosed spreads. See, e.g., June 8 Tr. at 134; id. at 108. The
government sought to differentiate State Street by pointing to language in its RFP responses
indicating that it would act as the client’s “agent” or “fiduciary,” however the catalyst for the
offense was not personal greed but a desire to have the bank succeed in this uniquely competitive
European environment.
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clients about how State Street and more particularly its affiliate broker-dealer would be

compensated for its services. Mr. McLellan has already paid an excruciating price for these

mistakes.

       c.      Disparity as compared to co-defendants and similar cases nationally

       Section 3553(a) specifically directs sentencing judges to consider “the need to avoid

unwarranted sentence disparities among defendants . . . who have been found guilty of similar

conduct.” Boomgaardt pled guilty to participating in the exact same conspiracy for which Mr.

McLellan was convicted. Judge Casper, consistent with the government’s recommendation, did

not impose any incarcerative sentence, instead requiring only that Boomgaardt complete a one-

year term of probation. Pennings, the other principal co-conspirator, has not yet been sentenced,

but the government agreed to accept his guilty plea to a single count of conspiracy. The statutory

maximum for that offense is five years’ imprisonment. See 18 U.S.C. § 371. This was prior to

and independent of a subsequent cooperation agreement that makes Pennings eligible for even

greater consideration at his future sentencing.

       While it is true that Mr. McLellan was Pennings’ superior with regard to their

employment at State Street, Pennings’ involvement in the charged scheme was significantly

greater than Mr. McLellan’s. It was Pennings, not Mr. McLellan, who actually made the false or

misleading representations at issue. It was Pennings who told Dutch Doctors State Street would

charge 1 bp, when he actually planned to charge 1.5. It was Pennings who told Royal Mail that

the quoted flat fee included “all trading required.” While Mr. McLellan respects the jury’s

verdict and does not dispute that he failed to direct Mr. Pennings to not charge non-disclosed



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broker-dealer mark-ups to NTMA and Royal Mail as well as helping to charge mark-ups for

certain trades involving Royal Mail, NTMA, and KIA, any suggestion that his culpability is

equal to or greater than Pennings’ is inconsistent with the trial evidence.

       Although Mr. McLellan, in contrast to Mr. Pennings and Mr. Boomgaardt neither entered

a plea of guilty nor exchanged his cooperation and then testimony for the benefits that have

already been conferred on Mr. Boomgaardt, Mr. McLellan asserted his unquestioned right to a

jury trial where he required the government to meet its burden. Not only is this a permissible

response to a criminal charge, but it advances the very societal interests that the Sixth

Amendment was originally intended to serve. See Nat’l Ass’n of Criminal Defense Lawyers

[hereinafter “NACDL”], NACDL’s Effort to Expose and Limit the Trial Penalty Garners Broad

Support with the Launch of a National Reform Effort (July 2018) (quoting John Gleeson, former

U.S. District Judge) (“We have a system in which you do not get punished unless the

government can prove you guilty beyond a reasonable doubt and to the extent that prosecutors

are empowered to create a world in which only the extreme risk assumers will exercise that right,

we are getting close to extinguishing it.”); NACDL, The Trial Penalty at 14 (2018) (quoting

Thomas Jefferson) (“I consider [trial by jury] as the only anchor ever yet imagined by man, by

which a government can be held to the principles of its constitution.” (alteration in original)).

Mr. McLellan did not testify, nor did he elicit any witness testimony that could fairly be

characterized as incredible. Although he is not entitled to a decreased guideline for acceptance

of responsibility, his decision to contest the government’s proof should not otherwise enhance

the sentence he would have received had he pled guilty.



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       Section 3553(a)(6) also encompasses consideration of sentences imposed on defendants

in other similar cases. See United States v. Robles-Alvarez, 874 F.3d 46, 52 (1st Cir. 2017)

(explaining that this subsection is “primarily aimed at national disparities,” but “also permits

consideration of disparities among co-defendants” (citation omitted)). One comparator comes to

mind immediately because it has been repeatedly proffered by the government as a close

analogue to this case, namely the alleged fraud involving undisclosed mark-ups at ConvergEx.

See June 25 Tr. 109 (referring to State Street’s conduct in this case as “exactly the same as the

ConvergEx lie”). The government recently entered into a plea agreement to resolve allegations

against Anthony Blumberg regarding the ConvergEx fraud. The agreement reflects a term of

imprisonment of zero to eighteen months. See United States v. Blumberg, No. 14-CR-458

(D.N.J.), Dkt. 269. Sentencing is scheduled for December. ConvergEx’s global head of

transition management, who allegedly played a role in the fraud very similar to that alleged as to

Mr. McLellan, was not charged criminally at all. The allegations against him were instead

pursued in civil enforcement proceedings. See SEC v. Bassily, No. 16-CV-2733 (S.D.N.Y.), Dkt.

1. This civil case was resolved via a settlement agreement which enjoined the defendant from

violating securities laws and required him to disgorge his profits from the fraud. See Dkt. 84.

Mr. McLellan has already lost his securities licenses and did not personally profit at all from the

overcharging scheme.

       The ConvergEx case is not an outlier. Indeed, courts have routinely imposed non-

custodial or relatively short incarceratory sentences in fraud cases where the conduct was more

serious than the offense conduct here, based on factors equally applicable in this case, including



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the aberrant or isolated nature of the conduct, lack of personal profit to the defendant, and the

fact that the victim(s) received value:

 CASE                     GSR        SENTENCE SUMMARY
 United States v.         151-181 1 year, 1 day       Defendant pled guilty (without an
 Mordach, 14-CR-                                      agreement) and was sentenced to 1 year and
 10218 (D. Mass)                                      1 day despite the fact that the scheme
 (Saris, J.)                                          caused a $4.3 million loss to the Federal
                                                      Perkins Loan program and affected 1,103
                                                      students. Defendant did not personally
                                                      profit from the scheme and defendant’s
                                                      conduct was aberrant.
 United States v.         87-108     6 months         Defendant and his co-conspirators engaged
 Prosperi, 06-CR-                    home             in a years-long fraud scheme in which they
 10116 (D. Mass)                     confinement,     provided concrete for the federally funded
 (Stearns, J.)                       3 years          “Big Dig” construction project that did not
                                     probation        meet required specifications, and created
                                                      false documentation certifying compliance,
                                                      causing a loss in excess of $5 million.
                                                      Defendant was sentenced to 3 years
                                                      probation and 6-month home confinement.
                                                      The First Circuit affirmed the sentence.
                                                      United States v. Prosperi, 686 F.3d 32, 50
                                                      (1st Cir. 2012). The sentencing court
                                                      relied, in part, on its perception that the
                                                      offense was motivated by the “corporate
                                                      culture” of the company, rather than a
                                                      desire for “personal enrichment.” Id. at 45.
 United States v.         188-235 6 months            Defendant, the president and CEO of a
 Harkonen, 08-CR-                 home                pharmaceutical company, was convicted of
 164 (N.D. Cal.)                  confinement,        misrepresenting the effectiveness of a drug
 (Seeborg, J.)                    4 years             as part of a scheme to defraud doctors into
                                  probation           prescribing, dying patients into taking, and
                                                      insurers into paying for the drug, which
                                                      caused a loss of $32.1 million.
 United States v.         108-135 18 months           Attorney convicted by jury of securities
 Greebel, 15-CR-637                                   fraud resulting in losses of over $10 million
 (E.D.N.Y.)                                           involving Martin Shkreli. Defendant
 (Matsumoto, J.)                                      betrayed his client’s trust in committing the
                                                      offense.



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United States v.       108-135 24 months         Defendant, a senior trader and managing
Litvak, 13-CR-19 (D.                             director at Jefferies & Co, Inc. (a global
Conn.)                                           securities and investment banking firm),
(Hall, J.)                                       was convicted of defrauding multiple
                                                 victims in 55 securities transactions over
                                                 the course of three years. As part of the
                                                 scheme, defendant misrepresented the
                                                 prices of bonds purchased by Jefferies and
                                                 then sold to victims. After a second
                                                 successful appeal, the United States
                                                 Attorney’s Office agreed to dismiss the
                                                 case.
United States v.       87-108   18 months        Defendant was convicted of securities and
Lumiere, 16-CR-483                               wire fraud for his participation in a scheme
(S.D.N.Y)                                        to mismark securities in a hedge fund in
(Rakoff, J.)                                     order to overstate the value of the fund.
                                                 The scheme resulted in millions of dollars
                                                 in unlawful gain.
United States v.       Over     18 months        Defendant, the former CFO of a publicly
Block, 16-CR-595       100                       traded real estate investment trust, was
(S.D.N.Y)              years                     convicted of manipulating the company’s
(Oetken, J.)                                     financial results by fraudulently inflating a
                                                 key metric used by investors to evaluate
                                                 Real Estates Investment Trusts. The fraud
                                                 caused a loss in excess of $300 million to
                                                 shareholders. Defendant had otherwise led
                                                 a law-abiding life and had been punished
                                                 by the loss of his profession.
United States v.       Life     1 year, 1 day    Defendant was a lawyer who played an
Collins, 07-CR-1170                              indispensable role in the accounting fraud
(S.D.N.Y)                                        at Refco, a publicly traded company.
(Preska, J.)                                     Defendant prepared legal documents over
                                                 several years for transactions planned by
                                                 company insiders to effect the fraud. There
                                                 were thousands of victims and billions of
                                                 dollars in losses. The fact that the defendant
                                                 did not personally profit from the fraud
                                                 took the case “outside the heartland” of
                                                 fraud cases. See Dkt. 244 at 30.
United States v.       Life     1 year, 1 day    Defendant, in-house counsel at General
Graham, 06-CR-137                                Reinsurance Corporation (“GRC”), played
(D. Conn.)                                       a substantial role in creating and concealing


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 (Droney, J.)                                         sham agreements in fraudulent reinsurance
                                                      transactions between GRC and AIG
                                                      causing a loss in excess of $500 million to
                                                      shareholders. Defendant did not personally
                                                      profit from the fraud.
 United States v.         57-71      1 day            Sixth Circuit affirmed variance from the
 Musgrave, 647 F.                                     guideline range of 51 to 71 months to 1 day
 App’x 529, 538 (6th                                  imprisonment where defendant was
 Cir. 2016)                                           convicted of defrauding a bank and the
                                                      Small Business Administration, causing the
                                                      SBA to lose approximately $1.7 million.
 United States v. Roth, 63-78        4 years          Defendant was in-house counsel who pled
 05-CR-792, 2008 WL                  probation        guilty to making false statements to the FBI
 686783, at *1-3 (N.D.                                and admitted to engaging in a scheme to
 Ill. Mar. 11,                                        defraud a hospital that caused a loss of
 2008)                                                $14.7 million.
 (Darrah, J.)

The defendants in the above cases were convicted of fraud that caused substantially more loss,

e.g., Harkonen, Block, Collins, Graham, to many more victims, e.g., Mordach. A term of

imprisonment of one year and one day would be fully consistent with these exemplars.

       For all the reasons articulated herein, and those to be advanced at the hearing, the defense

respectfully submits that a sentence of imprisonment for one year and one day is fair, just,

proportionate, and sufficient to meet the § 3553(a) sentencing objectives. This sentence would

certainly be “significant . . . to an offender,” like Mr. McLellan, “who has never been

incarcerated at all.” United States v. Herink, No. 10-CR-169, 2012 WL 3112002, at *8 (D. Neb.

July 30, 2012). And there is “considerable evidence that even relatively short sentences can have

a strong deterrent effect on prospective ‘white collar’ offenders.” United States v. Adelson, 441

F. Supp. 2d 506, 514 (S.D.N.Y. 2006) (citing Richard Frase, Punishment Purposes, 58 Stanford

L. Rev. 67, 80 (2005); Elizabeth Szockyj, Imprisoning White Collar Criminals?, 23 S. Ill. U. L.J.



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485, 492 (1998)); see also, e.g., Michael Tonry, Purposes and Functions of Sentencing, 34

Crime & Just. 1, 28 (2006) (“[I]ncreases in severity of punishments do not yield significant (if

any) marginal deterrent effects.”). These findings reflect the commonsense conclusion that no

jail sentence is “short” to the human being who has to actually spend his time confined to a

correctional facility, separated from friends and loved ones.

III.   Conclusion

       For the greater part of four decades, Mr. McLellan did everything right. He worked his

way through night school and rose through the ranks at State Street to become the youngest

Executive Vice President in the history of the bank. He started a family, becoming a dedicated

husband and a loving father to four young children. He was a consistently caring, helpful, and

empathetic co-worker, neighbor, and friend. Here, at worst, for a relative fraction of his life

(2010-11), Mr. McLellan failed to lead when leadership was needed – he did not proactively

direct Pennings to provide fuller disclosure in view of the State Street marketing and RFP

materials. That mistake, though, should not outweigh a lifetime of good deeds, earnest decision-

making, hard work, kindness, and overall decency and humanity. For all of the reasons set forth

above, the defense respectfully requests a sentence of one year and one day in prison.



                                                      Respectfully submitted,

                                                      Ross McLellan
                                                      By his Attorneys,

                                                      /s/ Martin G. Weinberg
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Dated: October 10, 2018



                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, October 10, 2018, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




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